                  EXHIBIT 5




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Expert Rebuttal Report of
David Sabatini, PhD, PE, BCEE
January 14, 2025




Prepared by:



_____________________________

David Sabatini, PhD, PE, BCEE

Registered Professional Engineer, Oklahoma - 17121

1632 Crestmont Ave., Norman, OK 73069




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  substantially lower - Hennet, 2024, p. 5-39). .......................................................................... 16




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SECTION 1: BACKGROUND AND EXPERIENCE:
        I am David Ross Boyd Professor Emeritus of civil engineering and environmental science
at the University of Oklahoma (OU). I joined OU in 1989, became Associate Director of the
Institute for Applied Surfactant Research in 2000, and was Founding Director of the OU WaTER
Center in 2005. I was appointed the Sun Oil Company Endowed Chair in 2002, and I held this
position until my retirement in 2022. I received my BS in Civil Engineering (CE) from the
University of Illinois in 1981, my MS CE from Memphis State University in 1985, and my PhD
from Iowa State University in 1989. In addition to my PhD, I am a registered Professional
Engineer (PE) and am a Board Certified Environmental Engineer (BCEE).

        Over the past four decades, my research has focused on advancing and utilizing
fundamental physical-chemical concepts for drinking water treatment and groundwater
remediation. As an indication of my expertise and reputation on these topics, I served as
Editorial Board member of the Journal of Water, Sanitation and Hygiene for Development and
Editor-in-Chief of the Journal of Contaminant Hydrology, and I have coauthored or coedited five
books and over 200 refereed journal publications on these topics. For over three decades, I
have taught a graduate-level course on the physical-chemical process for drinking water
treatment. Further details on these and other items, including any publications I have authored
in the last ten years, are in my full vitae, attached to this report as Exhibit B.

        The impact of my research is demonstrated by its being cited 13,728 times with an h-
index of 67 (67 of my articles have been cited more than 67 times), an i-100 index of 34 (34 of
my articles have been cited more than 100 times), and an i-10 index of 202 (Google Scholar
Citations: December 30, 2024). My research funding totals $12.8 M, including funding from the
National Science Foundation, Environmental Protection Agency, Department of Energy, and
Department of Defense.

         As a further indication of the impact of my work, my awards include the following (a
partial list): Life Member of the American Water Works Association (AWWA, 2022), Oklahoma
Higher Education Hall of Fame – Oklahoma Higher Education Heritage Society (2020),
International Service Award from U.S. National Chapter of International Association of
Hydrogeologists (2017), Distinguished Alumnus Award from the University of Illinois Civil and
Environmental Engineering (2012), DaVinci Fellow Award – DaVinci Institute of Oklahoma
(2010), the Oklahoma Medal for Excellence from the Oklahoma Foundation for Excellence
(2010), the Japanese Oil Chemist Society Lectureship Award (2006), and the National
Groundwater Association Groundwater Remediation Project Award (2006). From 1997 to 1998,
I was honored to be a Senior Fulbright Scholar at the Universitaet Tuebingen, Germany.

        My background and experience sufficiently and uniquely qualify me to comment on the
fate of contaminants in Camp Lejeune water treatment plants and distribution systems, as well
as the ultimate delivery of contaminated drinking water to marines and their family members.




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SECTION 2: INTRODUCTION
        The Bell Legal Group retained me in April 2023 on behalf of the Camp Lejeune Water
Litigation Plaintiffs. Relevant to my expert rebuttal, my expertise is in physicochemical
processes impacting drinking water treatment and water quality. I am being compensated at
$300 per hour for preparing this report. My rate for deposition and trial testimony is $400 per
hour. I have not testified by deposition or trial in the last four years.
         My methodology for assessing Dr. Hennet’s Expert Report Opinions 2, 10 and 13 was to
evaluate the basis of his opinions relative to losses of VOCs during water treatment, storage,
and filling of water buffaloes, study the supporting documents that Hennet relies upon along
with the AH Environmental Report (2004), perform calculations to help identify reasons for the
disparity in estimated losses between the two studies, evaluate appropriateness of input
parameters to Hennet’s calculations, and assess limitations of the approaches utilized to
estimate VOC losses. Based on these analyses and my professional experience and judgment, I
suggest modifications to Hennet’s calculations that, in my opinion, more accurately capture the
losses experienced in water treatment and storage at Camp Lejeune.
        My expert opinion is based on my education and experience as a civil engineer and
environmental scientist and on the available data and information, which, in addition to ATSDR
reports, include government documents, standard textbooks, and refereed scientific journal
articles documenting scientifically accepted contaminant losses in water treatment and delivery
(see Exhibit A for a list of these documents). A complete list of all materials I have considered in
rendering the opinions in this rebuttal will be produced within seven days of my report’s
submission.




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SECTION 3: BRIEF DESCRIPTION OF HADNOT POINT AND TARAWA TERRACE WATER TREATMENT PLANTS AND
BACKGROUND ON VOLATILIZATION CONCEPTS PERTINENT TO MY EXPERT REBUTTAL REPORT

       3.1     HADNOT POINT AND TARAWA TERRACE WATER TREATMENT PLANTS
       AH Environmental (2004) and Hennet (2024) provide detailed descriptions of the
Hadnot Point and Tarawa Terrace water treatment plants, which I briefly summarize below.
Additional details can be found in the AH Environmental and Hennet reports. I do not address
the Holcomb Boulevard water treatment plant as VOCs did not adversely impact its raw water
(Maslia et al., 2013).

        Figure 3-1 (AH Environmental, 2004) summarizes the Hadnot Point water treatment
plant, showing the raw water reservoir, the five parallel Spiractor softening units, the
recarbonation basin, the five parallel gravity filters, and the finished water reservoirs. The
system was designed to process the flow of 5 MGD (million gallons per day). Not shown in
Figure 3-1 is the 300,000-gallon water tower filled from the finished water reservoir. See AH
Environmental (2004) (Exhibit D) and Hennet (2024) for additional details on the treatment
system.




 Figure 3-1 Hadnot Point Water Treatment Plant (Figure 2-3, p. 2-8, AH Environmental, 2004)

        Figure 3-2 (AH Environmental, 2004) summarizes the Tarawa Terrace water treatment
plant showing the Spiractor softening unit, the six parallel pressure filters, and the finished
water reservoir. The system was designed to process 1 MGD of flow. Not shown in the
diagram is the 250,000-gallon water tower filled from the finished water reservoir. See AH
Environmental (2004) and Hennet (2024) for additional details on the treatment system.

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   Figure 3-2 Tarawa Terrace Water Treatment Plant (Figure 2-6, p. 2-11, AH Environmental,
                                          2004)

       3.2     BACKGROUND REGARDING VOLATILIZATION LOSSES
        The primary potential losses of interest in the Hadnot Point and Tarawa Terrace water
treatment processes result from contaminant volatilization from the water into the air. In the
Camp Lejeune case, the contaminants of concern (COCs) are the volatile organic compounds
(VOCs) tetrachloroethylene (PCE), trichloroethylene (TCE), 1,2-trans-dichloroethylene (1,2-
tDCE), vinyl chloride (VC) and benzene (Bz).

         Equilibrium volatilization is described by Henry’s Law (Schwarzenbach et al., 1993;
AWWA, 1990; Crittenden et al., 2012), which indicates that the gaseous (air) concentration of a
compound (Cair) is linearly proportional to the liquid (water) concentration of that compound
(Cwater), as shown in Equation 3-1. The proportionality constant (H) in Henry’s Law (Equation 3-
1) is known as Henry’s Law Constant. Rearranging Equation 3-1 to Equation 3-2, Henry’s
constant is a compound's partitioning ratio (relative air to water concentration) at equilibrium.

                                      Cair = H * Cwater                            (Equation 3-1)

                                      H = Cair /Cwater                             (Equation 3-2)

        An analogy illustrating Henry’s law is the carbonation of Coca-Cola (Coke). In a Coke
bottle, the CO2 in the Coke (carbonation) is in equilibrium with the CO2 in the air between the
Coke and the lid (the headspace); this partitioning follows Henry’s Law. If you remove the lid,
you hear the pressurized CO2 in the headspace escape the bottle. If you drink half of the Coke
and put the lid back on, the CO2 in the remaining Coke will eventually equilibrate with the new
headspace, leading to loss of CO2 from the Coke. This reduces the carbonation of the Coke and,
in the vernacular, the Coke goes flat.

       Henry’s Law assumes there is sufficient time for equilibrium partitioning to be achieved.
Following up on the Coke analogy, after you consume half the Coke and replace the lid, it takes

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time for the Coke CO2 to come into equilibrium with the new headspace (air). If you measured
the CO2 in the air over time, you would find that it gradually increases towards the equilibrium
value predicted by Henry’s Law. Thus, in early time periods, the air concentration and
volatilization would be much less than predicted by Henry’s Law. This time-dependent (kinetic)
process is a function of the driving force for volatilization (the concentration gradient between
equilibrium and actual air concentration of the VOC), the area across which volatilizations is
occurring, and the resistance to contaminant leaving the liquid and going into the gas phase.
This process is analogous to heat flow; in the winter, heat is lost from the home in proportion
to the temperature difference from inside to outside, the home's surface area, and the heat
flow resistance (degree of insulation).

        For volatilization, the kinetic process is described by a two-film mass transfer process
(AWWA, 1990; Crittenden et al., 2012), as summarized in Equation 3-3. In this equation, J is the
contaminant transfer rate (from liquid to gas in our case), KL is the inverse resistance to
contaminant flow (diffusion-controlled transfer from the water to the air), A is the area over
which contaminant transfer occurs, and delta C is the concentration gradient between aqueous
concentration and equilibrium gaseous concentration (the driving force). As delta C approaches
zero (as we approach equilibrium), contaminant flow from liquid to air (volatilization) decreases
until equilibrium is reached.

                                      J = KL A (delta C)                           (Equation 3-3)

         To summarize, Henry’s Law indicates the maximum volatilization that can be
experienced given sufficient time to reach equilibrium (Equation 3-1). For shorter time periods,
the air concentration (volatilization) may be much less than predicted by Henry’s Law,
depending on how quickly VOCs can migrate from the water to the air phase. In the early
stages of contaminant volatilization, the air concentration and associated volatilization losses
will be controlled by the area for contaminant transfer, diffusion-controlled transfer from water
to air, and the driving force (difference between actual and equilibrium gaseous
concentrations) as captured by the two-film transfer processes (Equation 3-3).




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SECTION 4: SUMMARY OF MY OPINIONS IN RESPONSE TO HENNET’S OPINIONS 2, 10 AND 13
        Based on my review and analysis of the documents discussed in this report and listed in
Exhibit A, my education and experience, and my review of the scientific literature, I have
reached the following opinions within reasonable scientific and engineering certainty, all of
which are explained in further detail in Section 5 of this report:

   4.1 Hennet (2024) overestimated VOC losses in the raw water during storage, treatment,
       and distribution; only minor VOC losses occurred in these systems (in response to
       Hennet’s Opinion 2 suggesting substantial losses - Hennet, 2024, p. 3-1).
       • The water treatment processes at Camp Lejeune would cause only minor losses of
          the VOCs of interest. Assumptions in Hennet’s calculations led to the overestimation
          of these losses. Rather than 15 to 32% losses by Hennet’s calculations, I estimate < 6
          to 12% losses for the range of VOCs.

   4.2 The ATSDR models indirectly accounted for VOC losses during water treatment,
       storage, and distribution (in response to Hennet’s Opinion 10, suggesting losses not
       accounted for - Hennet, 2024, p. 3-3)
       • Water samples from the distribution system and homes were included in the final
           stage of calibration.

   4.3 Hennet (2024) overestimated VOC losses in the mobile field water tanks (water
       buffaloes); water concentrations in the water buffaloes were only moderately lower
       than in the water treatment plants’ treated water. (In response to Hennet’s Opinion 13,
       suggesting they were substantially lower - Hennet, 2024, p. 3-3).
       • While losses during tank filling were possible, assumptions in Hennet’s calculations
          led to overestimates of these losses. While Hennet estimated on the order of 41% to
          61% losses, I estimate no more than 15% to 22% losses for filling through filler
          pipe/strainer and 4.2% to 6.7% for filling through the manhole for the range of VOCs.

     I reserve the right to amend these opinions should new information be provided or
become available to me.




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SECTION 5: DISCUSSION OF OPINIONS
       This section provides a detailed discussion substantiating the three opinions
summarized in Section 4. Evidence to support my opinions is provided by referring to standard
textbooks and peer-reviewed journal articles as documented in my discussion.

       5.1 HENNET (2024) OVERESTIMATED VOC LOSSES IN THE RAW WATER DURING STORAGE, TREATMENT,
       AND DISTRIBUTION; ONLY MINOR VOC LOSSES OCCURRED IN THESE SYSTEMS. (IN RESPONSE TO HENNET’S
       OPINION 2, WHICH SUGGESTS SUBSTANTIAL LOSSES).
         Hennet (2024) and AH Environmental (2004) each estimated VOC losses in various
stages of the water treatment, storage, and distribution system, as summarized in Hennet’s
Exhibit 2-1 (reproduced below as Figure 5-1). This schematic represents both the Tarawa
Terrace and Hadnot Point treatment systems with the variation that Tarawa Terrace did not
have a raw water storage tank and Hadnot Point included a recarbonation basin between the
Spiractors and the filters (see Section 3.1 for a brief summary and AH Environmental, 2004,
Section 2.3 for a detailed description of the water treatment plants). The Holcomb Boulevard
water treatment plant is not addressed as VOCs did not adversely impact its raw water (Maslia
et al., 2013).

        The main points of potential VOC losses estimated by Hennet (2024) and AH
Environmental (2004) are in the treatment process (specifically the Spiractors), the raw water
storage (Hadnot Point only), and the treated storage (clearwell) tanks, and the water towers.
Since the Spiractor design volumes and flow rates were the same for all Spiractors in both
treatment systems, the VOC loss estimate approach applies to Tarawa Terrace and Hadnot
Point as discussed in the next section. Since raw water storage, clearwell, and water tower VOC
losses are estimated similarly but vary by tank size and flow rate, they will be discussed in the
subsequent section. I will present the VOC loss estimates from Hennet (2024) and AH
Environmental (2004) along with my own conclusions based on my calculations and
assessments.




        Figure 5.1 Flow Schematic for Water Treatment and Distribution (Hennet, 2024, p. 5-2)


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               5.1.1 SPIRACTORS
       AH Environmental (2004) and Hennet (2024) followed the same approach for estimating
VOC losses in the Spiractors, with their results summarized in Table 5.1.

   Table 5.1 – Spiractor PCE and TCE volatilization losses estimated by AH Environmental (AH
                   2004), Hennet (2024), and corrected for AH Environmental

                  Source                             TCE Loss (%)               PCE Loss (%)
 AH Environmental (2004)*                                 6.1                        7.7
 Hennet (2024)**                                         10.0                       12.2
 AH Environmental (2004) – corrected***                   5.2                        6.2
*AH (2004), Sec 4.2, p. 4-1
**Hennet (2024), Exhibit 2-4, p. 5-6
***Exhibit C.1

        To understand why Hennet estimated VOC losses larger than AH Environmental, I
reviewed the estimation approach they used (both followed the method outlined in Nakasone
(1987), summarized in AH (2004), and incorporated into WATER9 (EPA, 1994)). Upon repeating
their calculations I identified two reasons for the differences in the estimated VOC losses: (1)
AH Environmental transposed an exponent in their Equation 11 (AH 2004 – Exhibit D, p. 3-4) –
the last term should be h0.31 instead of h0.13 (Nakasone, 1987), Hennet caught this error as well;
and, (2) AH Environmental used a water drop in the effluent pipe of 1 ft (0.3 m) while Hennet
used a fall height of 2 ft (0.6 m) (leading to fall height Z values of 0.375 m and 0.675 m,
respectively).

       Relative to the transposed exponent, I recalculated AH Environmental’s losses using the
correct exponent and listed the updated values in Table 5.1 as corrected. Implementing the
correct form of the equation reduced the volatilization loss values predicted by AH (Table 5.1),
thus not accounting for Hennet’s higher loss values. Rather, Hennet’s use of 2 ft as the water
drop in the effluent pipe is the reason for his higher VOC loss estimates.

         So why did Hennet choose to use 2 ft instead of AH Environmental’s value of 1 ft? In
Exhibit 2-3a (p. 5-5, Hennet, 2024), Hennet shows a picture of a Spiractor effluent pipe that was
being replaced, although he doesn’t indicate which water treatment plant this came from. In
this figure, Hennet indicates a 2 ft drop from the top of the effluent pipe to the top of the pipe,
carrying water away from the effluent pipe. I surmise that this is why Hennet chose to use a 2
ft (0.6 m) value. However, AH Environmental (2004) indicates that the water drop was no
greater than 1 ft for Hadnot Point (AH, 2004, p. 4-2), while for Holcomb Boulevard, which did
not have a recarbonation basin, the water drop could approach 2 ft. AH Environmental
indicates that the recarbonation basin created a headloss (constricted the flow) such that water
backed up in the Spiractor effluent pipe resulting in a 1 ft versus 2 ft water drop in the Spiractor
effluent pipe for Hadnot Point. This impact can be seen visually in AH Environmental (2004)
Figure 4-1 (Exhibit D – p. 4-2) for Hadnot Point and AH Environmental (2004) Figure 4-3 (Exhibit
                                                 8

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D – p. 4-3) for Holcomb Boulevard; Figure 4-3 shows more free fall versus Figure 4-1 for Hadnot
Point, justifying AH Environmental’s choice of the 1 ft (0.3 m) water drop in the Spiractor
effluent pipe. Hennet (2024) does not refer to AH Environmental’s discussion regarding the
impact of the Hadnot Point recarbonation basin on the water drop in the Spiractor effluent
pipe. Further, AH Environmental’s Figure 3-4 (Exhibit D – p. 3-10), which Hennet includes as his
Exhibit 2-2 (Hennet, 2024, p. 5-4), shows a 12 in drop. I thus conclude that AH Environmental’s
use of 1 ft (0.3 m) for the water drop in the Spiractor effluent pipe is justified.

          In Table 5.2, I extend AH Environmental’s corrected calculations for a 1 ft (0.3 m) drop to
1,2-tDCE, VC (vinyl chloride), and Benzene (Bz) and summarize Hennet’s values for a 2 ft drop
for all five VOCs. In all cases, Hennet’s values are almost twice that compared to AH
Environmental’s use of 1 ft. In my opinion, as discussed above, the AH values are more
appropriate.

    Table 5.2 – Spiractor VOC Loss Estimates for AH Environmental Water Drop in Effluent Pipe
                                     (1 ft), vs. Hennet (2 ft)

              Source                 TCE (%)         PCE (%)   1,2-tDCE (%)     VC (%)     Bz (%)
 AH Environmental (1 ft)*               5.2            6.2          5.9           9.9       4.3
 Hennet (2024) (2 ft)**                10.0           12.2         11.1          19.1       8.1
   * Exhibit C.1
   ** Hennet (2024), Exhibit 2-4, p. 5-6

        One final observation can be made regarding calculated VOC losses in the Spiractor
effluent pipe. The Nakasone (1987) method estimates VOC losses due to water flow over a
weir. A weir is a vertical barrier or wall over which water flows, cascading as a free fall onto the
other side of the barrier or wall. The water flows over the barrier in a parallel path above and
below the weir. In reality, the water exits the Spiractor over the circular edges of a pipe (see AH
(2004) Figures 3-2 and 3-3, Exhibit D, pp. 3-8 and 3-9, respectively), so that the water flow after
the “weir” is no longer parallel but converges in the center (see AH (2004) Figure 4-1, Exhibit D,
p. 4-2). As the water (flow lines) converge in the center, the area for volatilization decreases.
Thus, while I am not aware of a better approach than Nakasone (1987) for making this
estimate, in my opinion, the estimated values of VOC losses will be conservative (higher than
actually experienced). All this to say, I find this to be further justification supporting the
corrected AH Environmental Spiractor volatilization losses in Table 5.2 for Hadnot Point and
Tarawa Terrace. If anything, in my opinion, the actual values were lower than AH
Environmental predicted rather than higher as Hennet (2024) suggests.

               5.1.2 STORAGE TANKS (RAW WATER, TREATED WATER/CLEARWELLS, WATER TOWERS)
       Both AH Environmental (2004) and Hennet (2024) followed the approach outlined in
Thomas (1990) for estimating VOC losses in raw water and treated water (clearwell) tanks, and
water towers. Whereas AH Environmental (2004) estimated VOC losses of 0.04% or less (AH,
2004, p. 4-4) for the tanks, Hennet estimated loss values summed across these tanks of 6 to
14% for the range of VOCs (Hennet, 2004, Exhibits 2-4 and 2-5, pp. 5-6 to 5-10). To understand

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why VOC losses from Hennet were greater than AH Environmental’s values, I reviewed the
estimation approach as summarized in AH Environmental (2004) and referred back to the
original Thomas (1990) document. Thomas (1990) compiles four different methods for
estimating volatile losses from water bodies open to the atmosphere: (1) Mackay and Wolkoff,
(2) Lisa and Slater, (3) Chiou and Freed, and (4) Smith et al. AH Environmental (2004) and
Hennet (2024) followed the Smith et al. (1980) approach as outlined in Thomas (1990). I agree
with this choice.

        Given that they both followed the Smith et al. approach, why did their estimates differ
so dramatically? Upon looking further into their respective calculations, AH Environmental
(2004) invoked the Southworth (not Southgate as referred to by Hennet, 2024, p. 5-11,
footnote 64) method for estimating volatilization rates for input to the Smith et al. approach
(AH Environmental used Thomas, 1990, Equations (15-32) to (15-34) in their analysis which are
AH’s Equations 4 to 6, p. 3-12 to 3-13, 2004 – see Exhibit D). The Southworth technique was
developed for moderately volatile compounds (10-5 < Henry’s Constant < 10 -3 atm-m3/mol),
while VOCs of concern to Camp Lejeune are highly volatile (> 10 -3 atm-m3/mol; see Thomas,
1990, Table 15-4, pp. 15-24 to 15-25). As such, the Southworth approach does not apply for
VOCs of interest to Camp Lejeune which all have Henry’s Constants > 10 -3 atm-m3/mol. Hennet
(2024) correctly uses the more generalizable approach outlined in Thomas (1990), which is
appropriate for VOCs of interest at Hadnot Point and Tarawa Terrace water treatment plants.
This difference explains why Hennet’s (2024) estimates are different, and higher, than AH
Environmental. Nonetheless, in my opinion, there is much room for improvement in Hennet’s
calculations, and cause to assess the applicability of the Thomas approach to Camp Lejeune’s
raw water, clearwell, and water tower tanks.

         The approaches outlined in Thomas (1990) are for systems open to the atmosphere
(e.g., a pond, lake, or river). In contrast, the Camp Lejeune water treatment tanks, from raw
water to clearwell to water towers, are covered – they are not open to the atmosphere. A Coke
bottle, with and without a lid, can demonstrate the contrast between a closed (covered) system
and an open system. Relative to the Coke bottle, the carbonation in the Coke is analogous to
VOCs in Camp Lejeune water. As the carbonation (CO2) comes out of the water (Coke), it will
volatilize into the atmosphere if the bottle is uncovered, causing the Coke to “go flat” or lose its
carbonation. If the Coke bottle is covered (has a lid), the CO2 leaving the Coke will come into
equilibrium with the CO2 in the air above the Coke. As more CO2 accumulates in the air above
the Coke, this slows down the rate of volatilization until CO2 in the air and Coke come into
equilibrium via Henry’s Law (Henry’s Constant is the ratio of the gaseous versus liquid
concentration of a compound at equilibrium), at which point no more CO2 leaves the Coke (see
Section 3.2 for further discussion of these concepts). This simple analogy will help us
understand the limitations of the Thomas/Smith (1990) approach, as discussed below.

        My first difference with Hennet’s calculations has to do with one of the parameters he
uses from Thomas (1990). Hennet (2024) uses the (kvc)env value of 0.008 hr-1 for a pond from
Thomas (1990) Table 15-3 (p. 15.20). I concur with Hennet’s choice of a pond value versus a
river as being more representative of water treatment tanks, but given the discussion above, in
my opinion, the lowest (kvc)env value in Table 15-3 should have been used – 0.0046 hr-1. This

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would reduce Hennet’s estimates proportionally (0.0046/0.008 times his estimates or 0.58
times his estimates). Applying this to Hennet’s values mentioned above (6 to 14% losses across
all tanks for the range of VOCs) results in adjusted losses of 3 to 8% losses (see Exhibit C.2 for
calculations).

         Further, Thomas suggests that “When one is applying the results of calculations to
actual environmental situations, it would probably be advisable to assume that the values of
volatilization rate may be high by a factor of ten at most and low by a smaller factor of possibly
three.” (Thomas, 1990, p. 15-8). Given the disparity between the covered tanks of Camp
Lejuene and the assumption of reservoirs open to the atmosphere in Thomas (1990), the
calculation errors would obviously be on the high side. Thus, the “high by a factor of ten” is, in
my opinion, defensible given the differences between open and closed systems. Applying this
to the modified range mentioned above, the new range of VOC losses becomes 0.3 to 0.8% -
closer to the range proposed by AH Environmental. In the absence of a more appropriate
estimation approach (and I am not aware of one), in my opinion, this is a more reasonable
estimate.

        To further support this lower range of estimated volatilization losses, consider that
while the Camp Lejeune water treatment tanks are open to water exchange they do not
similarly experience air exchange. As new water flows into the tanks, it is exposed to air in the
tank that has already been exposed to water with VOCs. This would be analogous to pumping
new Coke into a bottle at the same rate Coke flows out of the bottle with a stationary air phase
between the Coke and the cover (lid). The Coke is being exchanged with new carbonated Coke,
but the air phase above the Coke is not being replaced with fresh air. Thus, the air eventually
approaches saturation with CO2 from the previous Coke in the bottle; as this saturation is
approached, the driving force for additional CO2 volatilization into the air decreases toward
zero (see Section 3.2). In the same way, new water flowing into any storage tank is coming into
contact with tank air having increasing levels of VOCs, thereby reducing the driving force for
additional volatilization as new water flows into the tank. This understanding of the water
treatment tanks' operational nature further supports the low volatilization across these tanks
(0.3 to 0.8% or < 1% - see Table 5.3).

               5.1.3 OTHER POTENTIAL VOC LOSSES (FILTERS, RECARBONATION BASIN, SOLIDS,
               BACKWASH, DISTRIBUTION)

       Hennet refers to several other potential VOC losses (filters, recarbonation basin, solids,
backwash, distribution). While not included in Hennet’s overall quantified losses, the
suggestion is that these additional losses could have been significant. In my opinion, these
potential losses would have been minor to negligible, as discussed below.

                      5.1.3.1 Sand Filters and Flow-through Recarbonation Basin
        Both AH Environmental (2004) and Hennet (2024) estimated that the volatilization
losses in sand filters (both Tarawa Terrace and Hadnot Point) and the recarbonation basin
without CO2 bubbling (Hadnot Point) were negligible (< 0.1% when adjusting Hennet’s
estimation for the more appropriate (kvc)env as discussed above (see Hennet, 2004, Exhibit 2-4,

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p. 5-7 for filters and recarbonation calculations). This is consistent with the flow nature in these
basins (versus flow over a weir) along with their short detention times (<0.25 hrs).

                       5.1.3.2 Recarbonation Basin when CO2 was bubbled up into basin
        When installed in 1941/42 the Hadnot Point water treatment recarbonation basin was
operational (CO2 was bubbled up into the basin). There is no clear indication of when
carbonation ceased, and the unit became a simple flow-through system (AH, 2004; Hennet,
2024). The purpose of recarbonation is to lower the system's pH towards a neutral pH by
bubbling CO2 into the bottom of the basin (think of a fish tank with an aerator bubbling air into
the fish tank water). In a recarbonation basin, The CO2 reacts with water to form carbonic acid
which helps lower the pH of the water.

         Hennet states that “the recarbonation of water would likely have removed most (i.e.,
90% removal or more) of the dissolved COCs (VOCs) from the water. The aeration of water or
air stripping is a well-proven technology to remove VOCs from water.” (Hennet, 2024, p. 5-12).
While I agree with Hennet’s comment that air stripping is a well-proven technology for VOC
removal, as demonstrated in standard water treatment textbooks (American Water Works
Association - AWWA, 1990; Crittenden et al., 2012), I disagree with Hennet’s suggestion of 90%
removal during recarbonation. (Interestingly, Hennet does not include this in his final
assessment of VOC losses - Hennet, 2024, Exhibit 2-6, p. 5-14). Recarbonation and air stripping
are dramatically different processes. Air stripping involves spraying water into the top of a
column (think of several shower heads pointing downwards into a column) while blowing air
upwards into the bottom of the column, resulting in a very high air to water ratio (commonly
A/W of 30:1 or 30 times more air than water – AWWA, 1990; Crittenden et al., 2012). This high
A/W ratio greatly increases volatilization (think of pouring coke into a cake pan to increase
surface area with a fan blowing air over the top to maximize volatilization). In contrast, in a
recarbonation basin, the goal is for CO2 to dissolve into the water; ideally, no CO2 makes it to
the surface (think of a fish tank with an air diffuser bubbling air into the water). Functionally, a
fraction of the CO2 does make it to the surface, but the CO2 to water ratio (at most 0.05:1 water
– Mattingly, 2024) is extremely small relative to the A/W ratio in air stripping (30:1). Thus,
recarbonation, with two to three orders of magnitude less A/W ratio, would be orders of
magnitude less efficient than air stripping. Further, the low detention time (0.08 hrs – AH,
2004) allowed negligible time for volatilization. All of this combined with the uncertainty of
how long recarbonation was implemented causes me to conclude that VOC losses would have
been minor, and I agree with Hennet’s decision not to include this in his overall VOC loss
estimates (Hennet, 2024 - Exhibits 2-4 and 2-6, pp. 5-8, 5-9 and 5-14).

                       5.1.3.3 Sorption losses onto Spiractor solids
        Hennet (2024) suggests that VOC losses may have occurred by sorption onto mineral
solids generated in the Spiractor during the softening process (p. 5-12). Hennet points to
Schwarzenbach et al. (1993) to support this claim. Generally, when we discuss VOC sorption as
a removal process, we talk about sorption onto activated carbon (AWWA, 1990; Crittenden et
al., 2012). In contrast, VOC sorption onto mineral surfaces is not discussed as a treatment
process in these textbooks. Rather, while the American Water Works textbook (AWWA, 1990)

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provides a summary table of heavy metal losses onto softening mineral surfaces, it does not
discuss VOC removal onto softening minerals (AWWA, 1990). Upon review of the
Schwarzenbach et al. reference (1993), I note that their mention of organic removal onto
mineral surfaces is directed at highly hydrophobic organic solutes (versus our slightly
hydrophobic VOCs) and high surface area minerals (e.g., 100s of m2/g – it is unlikely that
Spiractor solids would approach this level). This combined with the low detention time in the
Spiractor (23.08 m3 / 157.73 m3/h = 0.15 hrs – AH Environmental, 2004) versus the typical 24-
hour equilibration time in sorption studies like those reported in Schwarzenbach et al. (1993)
leads me to conclude that such losses would be negligible in the Camp Lejeune case. I thus
concur with Hennet’s decision not to include this in his overall VOC loss estimates (Hennet,
2024 - Exhibits 2-4 and 2-6, pp. 5-8, 5-9 and 5-14).

                      5.1.3.4 Losses in backwash water
         Hennet refers to filter backwashing as a possible source of VOC loss in the Camp Lejeune
treatment plants (Hennet, 2024, p. 5-13). Hennet indicates that the filters are backwashed
every 48 hours. Typically, backwash is for 20-30 mins (0.33 to 0.5 hrs) with water flowing
upwards at 3 to 4 times the filtration rate to cause filter bed expansion and enhance filter
cleaning (AWWA, 1990; Crittenden et al., 2012). Using the longer filtration time and lower
backwash rate leads to backwashing occurring for ~1% of the time (0.5 hr / 48 hours) at 3 times
the rate, or backwash water accounts for roughly 3% of the treated water. Often, this water is
sent to a settling basin to allow the solids to settle out of the water. After settling, the water
may be returned to the plant for treatment. Some of the VOCs may be lost due to
volatilization, and some of the water may be lost due to evaporation and association with the
solids in the settling basins. In this case, the volatilization losses may be closer to those
estimated by Hennet for tanks as the settling basins are open to the atmosphere (Hennet
estimated from 1 to 10% for the various VOCs – see Section 5.1.2). Using the high end of losses
to the atmosphere (10%) and assuming 100% of the backwash water is recoverable and
recycled to the water treatment plant (which is 3% of the total water treated) leads to at most
10%*3% or 0.3% VOC losses of the overall treated water. I thus conclude that these losses
would be minor and concur with Hennet’s decision not to include this in his overall VOC loss
estimates (Hennet, 2024 - Exhibits 2-4 and 2-6, pp. 5-8, 5-9 and 5-14).

                      5.1.3.5 Losses in the distribution system
        After treatment and storage, the water is delivered to the consumer through the
distribution system. Flow in the distribution is through pressurized pipes and thus not open to
the atmosphere. AH Environmental (2004) and Hennet (2024) do not consider losses in the
distribution system. Given that the distribution system is closed and pressurized, I likewise
conclude that losses in the distribution system were negligible.

               5.1.4 SUMMARY OF VOC LOSSES IN WATER TREATMENT PLANT STORAGE, TREATMENT, AND
               DISTRIBUTION

       In Table 5.3, I summarize my conclusions regarding the likely VOC losses in the Spiractor
softening basin, the closed storage tanks (raw water, clearwell, water towers), and other

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possible losses in the water treatment systems at Camp Lejeune. AH Environmental suggested
an overall loss of <15% based on their calculations for PCE and TCE. Based on Table 5.3, I would
suggest that the estimated losses for TCE, PCE, 1,2-tDCE and Bz is actually <10% with only VC
slightly above this 10% level but still less than the 15 % suggested by AH Environmental. I thus
conclude that AH Environmental was conservative in their estimate of less than 15% PCE/TCE
losses.

        In contrast, Hennet (2024) estimated higher losses than AH Environmental (Table 5.3).
The reasons for Hennet’s higher estimates are discussed in Sections 5.1.1 and 5.1.2, along with
reasons for why my estimates deviate from Hennet’s estimates. (In short, Hennet
overestimated the water drop in the Spiractor and used a method that assumed tanks were
open to the atmosphere). As such, I conclude that Hennet (2024) overestimated the potential
losses in the water treatment processes. The actual loss values, in my opinion, were less than
6 to 12% for the VOCs of interest versus 15% to 32% as suggested by Hennet (2024). Table
5.4 shows how these volatilization losses would reduce raw water to treated water
concentrations.

         Table 5.3 – Summary of VOC Loss Estimates for Spiractor, Storage Tanks, and Other
    Losses for Camp Lejeune – Tarawa Terrace and Hadnot Point Water Treatment Systems

               Source                  TCE (%)        PCE (%)   1,2-tDCE (%)    VC (%)    Bz (%)
 Spiractor (Sec 5.1.1)                   5.2            6.2          5.9         9.9        4.3
 Storage tanks (Sec 5.1.2)                <1             <1          <1          <1         <1
 Other losses (Sec 5.1.3)                 <1             <1          <1          <1         <1
 My Estimate - overall losses           <7.2           <8.2         <7.9        <11.9      <6.3
 AH Environmental (2004), p.5-1          <15            <15           -           -          -
 Hennet (2024), Exhibit 2-6, p.5.14       17             18          22          32         15

      Table 5.4 – VOC Concentrations in Treated Water Considering Volatilization Losses

              Source                   TCE (%)        PCE (%)   1,2-tDCE (%)    VC (%)    Bz (%)
 VOC in Raw Water                        100            100          100         100       100
 VOC in Treated Water                     93             92           92          88        94

       5.2 THE ATSDR MODELS INDIRECTLY ACCOUNTED FOR VOC LOSSES DURING WATER TREATMENT,
       STORAGE, AND DISTRIBUTION (IN RESPONSE TO HENNET’S OPINION 10 THAT LOSSES WERE NOT
       ACCOUNTED FOR - HENNET, 2024, P. 5-36)

       Hennet (2024) suggests that ATSDR considered only raw water before treatment in its
system modeling approach, concluding that “concentration estimates by ATSDR are therefore
not representative of the treated water and exaggerate the COC concentration in the drinking
water supply.” (Hennet, 2024, p. 5-37). In fact, in his expert report, Maslia points out that “The
reconstructed concentrations versus the observed data in Table 7.15 (Table 5-5 in this report)
demonstrate successful Level 4 calibration,” indicating that treated water samples were used in

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the final calibration step for Hadnot Point. The footnotes in Table 5-5 indicate which samples
were of untreated water, treated water, and unknown treatment status (eight fell into this last
category). Of the twelve samples with known treatment status, nine were of treated water,
and three were of untreated water, demonstrating that treated water and associated VOC
losses in the treatment plant were well represented in the Level 4 calibration step.

        Further evaluation of Table 5-5 provides insight into the fate of VOCs in the Hadnot
Point water treatment plant. On three occasions, water samples were taken from the raw
water entering the treatment plant and the finished water after treatment. For TCE the dates
were 7/27/82 and 12/4/84, while for 1-2-tDCE the date was 12/4/84. In all three cases, the
treated concentrations were similar to or higher than the raw water concentrations. While
admittedly a small data set, the data do provide further support for the minor to negligible VOC
losses I propose in Section 5.1 and my assertion that Hennet overestimated these losses.

        Table 5-5: Summary of measured and reconstructed contaminant concentrations used
in the Level 4 calibration for Hadnot Point (Maslia, 2024, Table 7.15, p. 86)




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        Likewise, for Tarawa Terrace, Maslia (2024) indicates that “The results of these
computations compared to an analysis of a water sample collected at a point in time, either at
the TTWTP or at a location within the TT water-distribution system such as an outdoor or
indoor faucet, are summarized in Table 7.12.” (Maslia, 2024, p. 58, with Table 7.12 on p. 60 of
his report). Data coming from indoor or outdoor faucets would reflect treated water. Once
again, the fact that Tarawa Terrace Level 4 calibration included treated water samples
demonstrates that ATSDR indirectly considered losses during water treatment and distribution.

       While Maslia’s Table 7.12 (2024) does not identify raw versus treated water that can be
compared for VOC losses across the treatment process, from CLW 606 we know that the
7/28/82 samples allow a comparison. For the 7/28/82 PCE samples, the raw water was 76 ug/l
and the treated water was 82 ug/L (considering analytical error, the same), once again
supporting my opinion in Section 5.1 that the treatment processes at Camp Lejeune would
produce at most minor VOC losses, if any, and that Hennet (2024) overestimated these losses.

        Thus, for both the Tarawa Terrace and Hadnot Point systems, treated water samples
were used in the calibration process and the ATSDR did consider such losses in the treatment
system.

       5.3     HENNET (2024) OVERESTIMATED VOC LOSSES IN THE MOBILE FIELD WATER TANKS (WATER
       BUFFALOES). WATER CONCENTRATIONS IN THE WATER BUFFALOES WERE ONLY MODERATELY LOWER THAN
       IN THE WATER TREATMENT PLANTS’ TREATED WATER. (IN RESPONSE TO HENNET’S OPINION 13, THAT
       THEY WERE SUBSTANTIALLY LOWER - HENNET, 2024, P. 5-39).

          Hennet (2024) assesses volatilization losses during the filling of water buffaloes (mobile
storage tanks) used for water provision in areas of the base not serviced by the water
distribution system (e.g., during training exercises). Hennet’s estimates are based on water
buffalo diagrams (Exhibit 13-1, p. 5-39, and Attachment C, p. C-15; Hennet, 2024) as shown in
Figure 5.2 in this report. Hennet assumes that the water buffaloes were filled through the filler
pipe which has a strainer through which water would flow (Figure 5.2). Hennet assumes that
water flowing through the strainer would be like water coming out of a shower head, and uses
the McKone and Knezovich (1991) analysis for TCE losses in a shower. In adapting this
approach for losses in filling the water buffaloes, Hennet (2024) modified TCE mass transfer
coefficients as per McKone and Knezovich (1991), assuming that these mass transfer rates
apply until the tank is half full, at which point the filling hose becomes submerged. At this
point, Hennet assumes a linear decrease in removal rate during the second half of the tank
filling (see Hennet, 2024, Exhibit 13-2, p. 5-41). Using this approach, Hennet estimates VOC
losses in the water buffaloes as summarized in the Rows 1 and 2 of Table 5-6.

       Assuming the tank was filled through the filler pipe and strainer, an assumption
addressed further below, there are fundamental differences between the shower and buffalo
systems that Hennet does not address, namely time for volatilization and cross sectional area
for mass transfer. Relative to time of volatilization, the shower-based VOC loss is for a 1.6 m
drop from the showerhead to the bathtub (McKone and Knezovich, 1991, Table 1). As Hennet
(2024) points out, the water buffaloes are 0.8 m tall (see upper table in Figure 5-2). During

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initial filling, the entire 0.8 m fall would be experienced. As the tank approaches full, the fall
height approaches zero (in contrast, during the shower experiment, the fall height remains 1.6
m throughout and the air to water remains the same since the water drains). As such, during
filling, the water buffalo would have an average fall height of 0.4 m, which is 1/4th (25%) of that
in the shower experiment. Assuming that the shower and strainer produce similar spray
patterns with similar downward velocities, and given that the relative time for volatilization is
the fall distance divided by downward velocity, since the downward velocities are assumed to
be the same, the relative time for volatilization is proportional to the relative fall heights (the
velocities cancel out in the ratio). Assuming the strainer produces a similar spray pattern
(cross-sectional area) to the shower, no adjustment is necessary for the mass transfer area in
this case. Thus, my VOC loss estimate in Table 5-6, Row 3 is ¼ (0.4 m / 1.6 m) or 25% of what
Hennet estimates in Row 1 of the same table, which I apply to filling of the tank. If the strainer
produced a smaller degree of spray relative to the shower the losses would be reduced, further
supporting my lower estimate compared to Hennet’s.




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Figure 5-2 – Schematic of Water Buffalo showing filler pipe (top figure) and strainer (#22 in
lower figure and listed in the table) – Hennet, 2024, p. C-15. Note: Redline dimensions on
     Hennet’s water buffalo diagram are in error, refer to upper table for dimensions.




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       Table 5.6 – Hennet Estimates of VOC Losses in water buffaloes based on filling through
 strainer using shower analysis of McKone and Knezovich (1991) (Exhibit 12-3, p. 5-41, Hennet,
                      2024), and my modifications to Hennet’s estimates

                 Source                 TCE (%)        PCE (%)   1,2-tDCE (%)    VC (%)   Bz (%)
 (1) Hennet – Losses during filling       54             58           72          81        60
 of bottom half of water tank –
 based on shower losses
 (2) Hennet – Overall loss                41             44           54           61       45
 (assumes linear decrease in loss
 during filling top half of tank)
 (3) My estimate of losses during         14             15           18           20       15
 filling tank based on average fall
 height of 0.4 m vs 1.6 m in
 shower experiment, assuming
 downward velocities are the
 same (25% or 0.25 x Row 1)
 (4) My estimate of maximum               23             35           24           47       16
 possible equilibrium losses when
 tank half full*
*Exhibit C.3

         Another critique of Hennet’s use of the McKone and Knezovich (1991) shower analysis is
that it is based on kinetics of mass transfer (volatilization) in a shower setting where the system
has much more air than water. When the water buffalo is one-half full, the air-to-water ratio is
1:1. In contrast, during the shower experiments, the shower air-to-shower water ratio was
more than 12:1 (McKone and Knezovich, 1991 reported 2.3 m3 of air versus 0.19 m3 of water in
their experiments). Even this calculated 12:1 air-to-water ratio overestimates the experimental
air-to-water ratio; since the water exited through the shower drain rather than accumulating in
the tub, the actual air-to-water ratio was much higher. In Table 5.6, I included a row (Row 4) of
Henry’s Law-based equilibrium losses of the VOCs when the tank was half full – this is the
maximum that could be achieved if sufficient time were present to reach equilibrium. Looking
at Table 5.6, one notes that Hennet’s loss values in filling the bottom half of the tank (Row 1)
exceed my equilibrium calculations (Row 4). How can kinetic-based experiments generate
higher losses than equilibrium allows? This can be attributed to the fact that the shower
experiments had a much higher air-to-water ratio (>12:1) than the water buffalo at half full
(1:1). The shower analysis would thus be analogous to a Coke bottle with only a small amount
of Coke in the bottom versus the tank analysis based on half full. Had the shower experiments
been conducted at a 1:1 water ratio, the losses would have been much lower – even lower than
my equilibrium predictions due to mass transfer/volatilization limitations (Section 3-2). This
further supports my loss estimates in Row 3, which are all below the equilibrium loss values in
Row 4.




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         Consider the case where water buffaloes were filled through the manhole on top of the
water buffalo (Figure 5.2), which seems highly likely for reasons discussed below and in Sabatini
Appendix A. For filling through the manhole, the shower-based method would further
overestimate VOC removal (the flow would not go through the strainer in the filler pipe). It is
not apparent why highly treated water would be put through the strainer. The strainer would
more likely be used during field deployment when, in the absence of a treatment plant, the
water buffaloes would be filled from a lake or river, and the strainer would remove debris. This
is consistent with the presence of a hand pump feeding the filler pipe in early versions of the
water buffaloes (Brigham, 2024, Exhibit 32, p. 98), which is absent in later versions of the water
buffaloes (Brigham, 2024, Exhibit 35, p. 101). Brigham indicates that at Camp Lejeune, the
water buffaloes were filled from standpipes (Brigham, 2024, Exhibit 36 and 37, pp. 103 and 104,
respectively), which were 2-inch vertical pipes directly tapping into the water distribution
system. The vertical standpipe had two 90-degree elbows and a downspout tube length
allowing the water buffaloes to be filled from above (as illustrated in Figure 24 in Sabatini
Appendix A, which is attached to this rebuttal report). Sautner et al. indicate that the Hadnot
Point distribution system had 60 psi of pressure (Sautner et al., 2013, Figure S8.11, p. S8.16);
this and the standpipe configuration are consistent with a reported fill time of two to three
minutes (Sabatini Appendix A), and thus a flow rate of 150 to 200 gpm (400 gallons / 200
gallons/minute = 2.0 minutes fill time). For ease of filling and to accommodate this higher flow
rate, it seems likely that the water buffaloes would be filled through the manhole (the filler pipe
strainer would likely not accommodate these high flow rates). Testimonials from Camp Lejeune
employees document that water buffaloes were filled through the manhole cover (Sabatini
Appendix A).

        Standpipe filling through the manhole cover leads to two additional deviations from
Hennet’s (2024) calculation. First, since the flow does not go through the strainer, the
downward stream of water coming from the 2-inch standpipe/hose would have lower area for
mass transfer than in the shower-based estimate. While the standpipe is 2 inches in diameter
(Brigham, 2024), the water buffalo filler pipe has an inside diameter of 3.75 inches (Hennet,
2024, p. C-15, inset table – see Figure 5-2) which combined with the strainer produces a larger
spray area. The diameter of a shower spray, the basis of Hennet’s shower-based loss estimates,
is approximately 6 to 7 inches midway between the showerhead to the floor (Sabatini, 2025).
Thus, the shower-based volatilization values have at least three times the surface area (6 inches
versus 2 inches) for mass transfer versus top-filling through the manhole sans the strainer, and
the resulting VOC losses for manhole filling would be 1/3 (0.33 times) of Hennet’s estimate
relative to area for mass transfer.

         Another deviation from Hennet’s shower analysis is the relative time of volatilization.
For the higher flow rates when filling through the manhole (standpipe flow rates of 150 to 200
gpm), and based on the cross-sectional area of a 2-inch pipe, the downward velocities when
filling through the manhole would be 15 to 20 ft/sec (velocity = flow / area). In contrast, the
shower-head-induced energy losses would generate lower downward velocities in the shower –
approximately 10 to 13 ft/sec (Sabatini, 2025). Thus, the downward velocities in filling the
water tank would be approximately 1.5 times higher during manhole filling versus in the

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shower/strainer system. Since the volatilization time is inversely proportional to downward
velocity (time = distance / velocity), the filling time would be reduced by dividing shower results
by 1.5 (or multiplying by 1/1.5 or 0.66). Thus, Hennet’s VOC losses must be reduced for the
lower surface area discussed above (0.333), and volatilization time (relative fall height (0.4
m/1.6m or 0.25) / relative velocities (1.5) = 0.167) in manhole filling). My estimated manhole
filling losses, accounting for area of mass transfer and volatilization time, become 0.333*0.167
= 0.056 or 5.6% of Hennet’s values in Table 5.6, Row 1 (see Table 5.7, Row 3 for my estimated
losses).

       Sabatini Appendix A indicates that water buffaloes were sometimes filled from fire
hydrants, which would accommodate larger hoses and higher flow rates (at least twice my flow
rates above – Sabatini Appendix A). Increasing the flow rates would decrease my loss estimates
proportionally (e.g., doubling the flow rate would reduce my loss estimates in half). In this case
and others, Sabatini Appendix A indicates that filling tubes were sometimes inserted into the
tank, which would reduce fall height, volatilization times, and VOC losses proportionally, again
reducing my estimated losses in Table 5.7, Row 3.

         In addition to my estimate for losses during manhole filling (Table 5.7, Row 3 is 5.6% of
Hennet’s Row 1 in Table 5.6). Table 5.7 also summarizes shower-based VOC losses through
filler pipe/strainer by Hennet and by myself (Row 1 and 2, respectively). The data in Table 5.7
demonstrate that necessary adjustments to the shower-based approach to more closely mimic
water buffalo filling result in significantly lower VOC loss estimates than Hennet (true for both
filler-pipe and manhole filling).

         As one final step in the analysis, the minor losses during the filling process estimated
here raise the question of what losses might have occurred in the water buffalo headspace
during daily operation. We return to the Thomas (1990) approach discussed earlier for water
treatment system tanks to address this question. Since the water buffalo drains and the
headspace increases during the day, the Thomas approach, while not exact, is more directly
applicable. Assuming that the tank is filled (full) first thing in the morning and is used from
morning to evening, the operating time could be as much as 12 hours (7 AM to 7 PM). During
initial use, minimal volatilization losses would have been experienced, while the maximum
volatilization would have occurred after twelve hours. As such, the average volatilization losses
during operation would occur at the mid-point in time – after six hours. Row 4 in Table 5.7
summarizes VOC loss estimates during water buffalo use based on this analysis (see Exhibit C.4
for details). My analysis assumes the water buffaloes were filled and used only once per day –
if they were filled twice per day, my estimate would be reduced in half.

                Table 5.7 provides a summary of the overall VOC losses in the water buffaloes
based on Hennet’s (2024) calculations and my estimates for filling the water buffaloes from the
filler tank and also my analysis for filling from the manhole cover. I thus conclude that
Hennet’s calculations overestimated the VOC losses during filling of the water buffaloes; he
estimated 41% to 61% for the range of VOCs while I estimated much lower losses (15 to 22%
through filler pipe/strainer and 4.2 to 6.7% through the manhole, including daily use not
accounted for by Hennet) for the range of VOCs. I thus conclude that the water buffalo

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water was only mildly to moderately lower in VOCs, not substantially lower as Hennet (2024)
states. Table 5.8 shows how these volatilization losses would impact raw water to treated
water as well as treated water to water buffalo filling through filler pipe/strainer and through
the manhole, both including losses during use (not accounted for in Hennet, 2024). Again,
only minor to moderate losses are realized in the water buffaloes.

          Table 5.7 – Summary of my estimates of VOC losses in filling water buffaloes versus
                               Hennet’s Estimates (Hennet, 2024)

                  Source                   TCE (%)           PCE (%)        1,2-tDCE      VC (%)    Bz (%)
                                                                               (%)
 (1) Hennet – filler pipe/strainer -             41             44              54          61       45
 Overall loss (see Table 5-6, Row 2))
 (2) My estimate – filler pipe/strainer          14             15            18            20       15
 overall filling losses (see Table 5.6,
 Row 3)
 (3) My estimate – filled by standpipe       3.0                3.2           4.0          4.5       3.3
 through manhole cover – 5.6% of
 Hennet’s Row 1 values in Table 5.6
 (4) My estimated losses during daily        1.2                1.0           1.9          2.2       1.2
 use of water buffaloes (Exhibit C.4)
 (5) My estimate – overall losses –              15             16            20            22       16
 filler pipe strainer plus daily use
 (Row 2+4)
 (6) My estimate – overall losses –          4.2                4.2           5.9          6.7       4.5
 standpipe filling through manhole
 plus daily use (Row 3+4)

    Table 5.8 – VOC Concentrations in Treated Water and During Water Buffalo Filling / Use
                              Considering Volatilization Losses

 Source                                               TCE (%)    PCE (%)      1,2-tDCE     VC (%)   Bz (%)
                                                                                 (%)

 VOC in Raw Water                                      100            100          100       100     100

 VOC in Treated Water (Table 5.4)                       93            92            92       88       94

 VOC in Buffalo Water – filling through filler          79            77            74       69       79
 tube/strainer and daily use (Table 5.7,
 Row 5)
 VOC in Buffalo Water - standpipe filling               89            88            87       82       90
 through manhole and daily use (Table 5.7,
 Row 6)


                                                      22

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                                           Exhibit A

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                        Spiractors
                        Chemical Properties                                                                                                          Spiractor Properties
                                                                                 PCE              TCE             1,2tDCE     VC         Bz
                                                                                                                                                     Tailwater (m) - h                 0.15




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                        H                                       atm-m3/mol)        1.31E-02        7.07E-03        7.42E-03   2.17E-02    4.36E-03   Circumference (m)                 0.94
                        R                                    atm-m2/(mol-K)        8.21E-05        8.21E-05        8.21E-05   8.21E-05    8.21E-05   Flow (m^3/hr)                   157.73
                        T                                                  K       2.93E+02        2.93E+02        2.93E+02   2.93E+02    2.93E+02   Flow/Circumf (m^2/hr) - q       167.80
                        H'                                     dimensionless       5.44E-01        2.94E-01        3.08E-01   9.02E-01    1.81E-01   Critical Depth above weir (m)     0.05
                        Dw                                            cm2/s        7.59E-06        8.43E-06        1.17E-05   1.38E-05    8.99E-06
                        Da                                            cm2/s        8.13E-02        8.90E-02        8.65E-02   1.03E-01    9.80E-02
                        MW                                            g/mol        1.66E+02        1.31E+02           96.90   6.25E+01    7.81E+01




                   1
                        (D)O2,w                                       cm2/s        8.99E-06        8.99E-06        8.99E-06   8.99E-06    8.99E-06
                        (D)O2,a                                       cm2/s        9.80E-02        9.80E-02        9.80E-02   9.80E-02    9.80E-02




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                                                                                                                                                                                                                                       Exhibit C.1




                        Hennet
                        Fall Ht (m)                                  3.00E-01    Z = Fall Ht + 1.5*critical depth (m)         3.75E-01

                        Deficit Ratio (ln r - AH Eq 11 corrected)dimensionless      1.08E-01       1.08E-01        1.08E-01   1.08E-01    1.08E-01
                        Liquid Mass Transfer - kL - AH Eq 10              m/s       1.20E-02       1.29E-02        1.60E-02   1.78E-02    1.34E-02
                        Gas Mass Transfer - kg - AH Eq 9                  m/s       4.42E-02       4.69E-02        4.60E-02   5.17E-02    5.00E-02
                        Overall Mass Transfer - Ko - AH Eq 8              m/s       8.01E-03       6.66E-03        7.52E-03   1.29E-02    5.41E-03




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                        Fraction remaining - Ci/Co - AH Eq 7 dimensionless             0.938          0.948           0.941      0.901       0.957
                        Removal % (1 - (Ci/Co) *100                         %            6.2            5.2             5.9        9.9         4.3




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                                                                                                                                                                                              Calculations for Spiractor – 1 ft (0.3 m) Water Drop / Corrected Equation / All Five VOCs
                                               Exhibit C.2
                   Calculations for Water Tank Losses – Hadnot Point / Tarawa Terrace

Tanks - Thomas/Smith Approach - Hadnot Point
Chemical Properties                                      PCE          TCE        1,2tDCE     VC          Bz
H                                         atm-m3/mol)     1.31E-02    7.07E-03   7.42E-03     2.17E-02    4.36E-03
R                                      atm-m2/(mol-K)     8.21E-05    8.21E-05   8.21E-05     8.21E-05    8.21E-05
T                                                    K    2.93E+02    2.93E+02   2.93E+02     2.93E+02    2.93E+02
H'                                       dimensionless    5.44E-01    2.94E-01   3.08E-01     9.02E-01    1.81E-01
Dw                                              cm2/s     7.59E-06    8.43E-06   1.17E-05     1.38E-05    8.99E-06
Da                                              cm2/s     8.13E-02    8.90E-02   8.65E-02     1.03E-01    9.80E-02
MW                                              g/mol     1.66E+02    1.31E+02      96.90     6.25E+01    7.81E+01
(D)O2,w                                         cm2/s     8.99E-06    8.99E-06   8.99E-06     8.99E-06    8.99E-06
(D)O2,a                                         cm2/s     9.80E-02    9.80E-02   9.80E-02     9.80E-02    9.80E-02
kvc/kvo - Table 15-2*                    dimensionless    5.20E-01    5.70E-01   7.70E-01     8.60E-01    5.70E-01
*DCE&VC from Hennet

Hadnot Point

Raw Water (0.8MG, Q=5MGD)
Residence time                                   Hour     3.84E+00    3.84E+00   3.84E+00     3.84E+00    3.84E+00

(kv)env - Table 15-3, low calculated          1/hour       8.00E-03   8.00E-03    8.00E-03    8.00E-03    8.00E-03
(Kcx)env - Eq 15-22                           1/hour       2.81E-03   3.25E-03    5.27E-03    6.28E-03    3.25E-03
C/Co - Eq 15-11                         dimensionless      9.89E-01   9.88E-01    9.80E-01    9.76E-01    9.88E-01
R = (1-C/Co)*100                                   %           1.07       1.24        2.00        2.38        1.24

(kv)env - Table 15-3, low literature          1/hour       4.80E-03   4.80E-03    4.80E-03    4.80E-03    4.80E-03
(Kcx)env - Eq 15-22                           1/hour       1.69E-03   1.95E-03    3.16E-03    3.77E-03    1.95E-03
C/Co - Eq 15-11                         dimensionless      9.94E-01   9.93E-01    9.88E-01    9.86E-01    9.93E-01
R = (1-C/Co)*100                                   %           0.65       0.75        1.21        1.44        0.75

Clearwell (2.5 MG, Q=5MGD)
Residence time                                   Hour     1.20E+01    1.20E+01   1.20E+01     1.20E+01    1.20E+01

(kv)env - Table 15-3, low calculated          1/hour       8.00E-03   8.00E-03    8.00E-03    8.00E-03    8.00E-03
(Kcx)env - Eq 15-22                           1/hour       2.81E-03   3.25E-03    5.27E-03    6.28E-03    3.25E-03
C/Co - Eq 15-11                         dimensionless      9.67E-01   9.62E-01    9.39E-01    9.27E-01    9.62E-01
R = (1-C/Co)*100                                   %           3.32       3.83        6.12        7.26        3.83

(kv)env - Table 15-3, low literature          1/hour       4.80E-03   4.80E-03    4.80E-03    4.80E-03    4.80E-03
(Kcx)env - Eq 15-22                           1/hour       1.69E-03   1.95E-03    3.16E-03    3.77E-03    1.95E-03
C/Co - Eq 15-11                         dimensionless      9.80E-01   9.77E-01    9.63E-01    9.56E-01    9.77E-01
R = (1-C/Co)*100                                   %           2.00       2.32        3.72        4.42        2.32

Water Tower (0.3 MG, Q=1.25MGD)
Residence time                                   Hour     5.76E+00    5.76E+00   5.76E+00     5.76E+00    5.76E+00
(kv)env - Table 15-3, low calculated          1/hour       8.00E-03   8.00E-03    8.00E-03    8.00E-03    8.00E-03
(Kcx)env - Eq 15-22                           1/hour       2.81E-03   3.25E-03    5.27E-03    6.28E-03    3.25E-03
C/Co - Eq 15-11                         dimensionless      9.84E-01   9.81E-01    9.70E-01    9.64E-01    9.81E-01
R = (1-C/Co)*100                                   %           1.61       1.86        2.99        3.56        1.86

(kv)env - Table 15-3, low literature          1/hour       4.80E-03   4.80E-03    4.80E-03    4.80E-03    4.80E-03
(Kcx)env - Eq 15-22                           1/hour       1.69E-03   1.95E-03    3.16E-03    3.77E-03    1.95E-03
C/Co - Eq 15-11                         dimensionless      9.90E-01   9.89E-01    9.82E-01    9.79E-01    9.89E-01
R = (1-C/Co)*100                                   %           0.97       1.12        1.80        2.15        1.12




                                                               1
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Tanks - Thomas/Smith Approach - Tarawa Terrace
Chemical Properties                                      PCE          TCE        1,2tDCE     VC          Bz

H                                         atm-m3/mol)     1.31E-02    7.07E-03   7.42E-03    2.17E-02     4.36E-03
R                                      atm-m2/(mol-K)     8.21E-05    8.21E-05   8.21E-05    8.21E-05     8.21E-05
T                                                    K    2.93E+02    2.93E+02   2.93E+02    2.93E+02     2.93E+02
H'                                       dimensionless    5.44E-01    2.94E-01   3.08E-01    9.02E-01     1.81E-01
Dw                                              cm2/s     7.59E-06    8.43E-06   1.17E-05    1.38E-05     8.99E-06
Da                                              cm2/s     8.13E-02    8.90E-02   8.65E-02    1.03E-01     9.80E-02
MW                                              g/mol     1.66E+02    1.31E+02      96.90    6.25E+01     7.81E+01
(D)O2,w                                         cm2/s     8.99E-06    8.99E-06   8.99E-06    8.99E-06     8.99E-06
(D)O2,a                                         cm2/s     9.80E-02    9.80E-02   9.80E-02    9.80E-02     9.80E-02
kvc/kvo - Table 15-2*                    dimensionless    5.20E-01    5.70E-01   7.70E-01    8.60E-01     5.70E-01
*DCE&VC from Hennet

Tarawa Terrace
Clearwell (0.5 MG, Q= 1 MGD)
Residence time                                   Hour     1.80E+01    1.80E+01   1.80E+01    1.80E+01     1.80E+01

(kv)env - Table 15-3, low calculated          1/hour       8.00E-03   8.00E-03    8.00E-03    8.00E-03    8.00E-03
(Kcx)env - Eq 15-22                           1/hour       2.81E-03   3.25E-03    5.27E-03    6.28E-03    3.25E-03
C/Co - Eq 15-11                         dimensionless      9.51E-01   9.43E-01    9.10E-01    8.93E-01    9.43E-01
R = (1-C/Co)*100                                   %           4.93       5.69        9.04       10.70        5.69

(kv)env - Table 15-3, low literature          1/hour       4.80E-03   4.80E-03    4.80E-03    4.80E-03    4.80E-03
(Kcx)env - Eq 15-22                           1/hour       1.69E-03   1.95E-03    3.16E-03    3.77E-03    1.95E-03
C/Co - Eq 15-11                         dimensionless      9.70E-01   9.65E-01    9.45E-01    9.34E-01    9.65E-01
R = (1-C/Co)*100                                   %           2.99       3.45        5.53        6.56        3.45

Water Tower (0.25 MG, Q=1.MGD)
Residence time                                   Hour     6.00E+00    6.00E+00   6.00E+00    6.00E+00     6.00E+00

(kv)env - Table 15-3, low calculated          1/hour       8.00E-03   8.00E-03    8.00E-03    8.00E-03    8.00E-03
(Kcx)env - Eq 15-22                           1/hour       2.81E-03   3.25E-03    5.27E-03    6.28E-03    3.25E-03
C/Co - Eq 15-11                         dimensionless      9.83E-01   9.81E-01    9.69E-01    9.63E-01    9.81E-01
R = (1-C/Co)*100                                   %           1.67       1.93        3.11        3.70        1.93

(kv)env - Table 15-3, low literature          1/hour       4.80E-03   4.80E-03    4.80E-03    4.80E-03    4.80E-03
(Kcx)env - Eq 15-22                           1/hour       1.69E-03   1.95E-03    3.16E-03    3.77E-03    1.95E-03
C/Co - Eq 15-11                         dimensionless      9.90E-01   9.88E-01    9.81E-01    9.78E-01    9.88E-01
R = (1-C/Co)*100                                   %           1.01       1.16        1.88        2.24        1.16




                                                               2
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                            Equilibrium Partitioning Between Liquid (Water) and Gas Phase
                                                           PCE                           TCE                    1,2tDCE                 VC                      Bz




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                            Dl        m2/s                  7.59E-10                     8.43E-10               1.17E-09                1.38E-09                 8.99E-10
                            Dg        m2/s                  8.13E-06                     8.90E-06               8.65E-06                1.03E-05                 9.82E-06
                            R         atm-m2/(mol-K)        8.21E-05                     8.21E-05               8.21E-05                8.21E-05                 8.21E-05
                            T         K                     2.93E+02                     2.93E+02               2.93E+02                2.93E+02                 2.93E+02
                            H         atm-m3/mol)           1.31E-02                     7.07E-03               7.42E-03                2.17E-02                 4.36E-03
                            H'        dimensionless         5.44E-01                     2.94E-01               3.08E-01                9.02E-01                 1.81E-01




                        1
                   4
                            Equilibrium Calcs for tank Co =   1.00E+02       mg/m^3
                            Tank Fullness




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                            Frac Full Vg/Vw                 fw         Cw    R (%)      fw       Cw     R (%)   fw       Cw    R (%)    fw       Cw    R (%)    fw         Cw       R (%)
                                                                                                                                                                                                                               Exhibit C.3




                                  0.50      1.00E+00           6.48E-01 64.75 35.25      7.73E-01 77.29 22.71    7.64E-01 76.44 23.56    5.26E-01 52.59 47.41     8.47E-01    84.66     15.34

                            Schwarzenbach et al. 1993; Schwarzenbach et al., 1995
                            fw = mass in aqueous phase / total mass
                            fw = {(CwVw)/(CwVw+CaVa)} = {1/(1+(CaVa/(CwVw))} = (1/(1+Kh'(Va/Vw))}      S
                            Cw = fw *Mtot/Vw = fw * (Co*Vw)/Vw = fw * Co
                            R = {(Co - Cw)/Co}*100




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                                                                                                                                                                                                Calculations for Equilibrium VOC Losses in Half-filled water buffalo tank




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                                                           Exhibit C.4

Thompson/Smith calculations for 6 hour losses (mid-point time of 12 hours shift) in water buffaloes



  Tanks - Thomas/Smith Approach - Water Buffaloes
  Chemical Properties                                      PCE           TCE        1,2tDCE      VC          Bz

  H                                         atm-m3/mol)     1.31E-02     7.07E-03   7.42E-03      2.17E-02    4.36E-03
  R                                      atm-m2/(mol-K)     8.21E-05     8.21E-05   8.21E-05      8.21E-05    8.21E-05
  T                                                    K    2.93E+02     2.93E+02   2.93E+02      2.93E+02    2.93E+02
  H'                                       dimensionless    5.44E-01     2.94E-01   3.08E-01      9.02E-01    1.81E-01
  Dw                                              cm2/s     7.59E-06     8.43E-06   1.17E-05      1.38E-05    8.99E-06
  Da                                              cm2/s     8.13E-02     8.90E-02   8.65E-02      1.03E-01    9.80E-02
  MW                                              g/mol     1.66E+02     1.31E+02      96.90      6.25E+01    7.81E+01
  (D)O2,w                                         cm2/s     8.99E-06     8.99E-06   8.99E-06      8.99E-06    8.99E-06
  (D)O2,a                                         cm2/s     9.80E-02     9.80E-02   9.80E-02      9.80E-02    9.80E-02
  kvc/kvo - Table 15-2*                    dimensionless    5.20E-01     5.70E-01   7.70E-01      8.60E-01    5.70E-01
  *DCE&VC from Hennet

  Water Buffaloes

  Residence time - 6 hrs                           Hour     6.00E+00     6.00E+00   6.00E+00      6.00E+00    6.00E+00

  (kv)env - Table 15-3, low literature          1/hour       4.80E-03    4.80E-03    4.80E-03     4.80E-03    4.80E-03
  (Kcx)env - Eq 15-22                           1/hour       1.69E-03    1.95E-03    3.16E-03     3.77E-03    1.95E-03
  C/Co - Eq 15-11                         dimensionless      9.90E-01    9.88E-01    9.81E-01     9.78E-01    9.88E-01
  R = (1-C/Co)*100                                   %           1.01        1.16        1.88         2.24        1.16




                                                                 1
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APPENDIX A:
Response to Reports of Remy J.-C. Hennet & Jay Brigham
Regarding Water BuCaloes




____________________________________________________________________________________
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Introduction

The reports of Remy J.-C. Hennet & Jay Brigham, dated December 9, 2024, discuss the use
of water bu*aloes at Camp Lejeune. Certain of my calculations set forth in the body of my
report depend on the design and conﬁguration of the water bu*aloes used at Camp
Lejeune, especially as this relates to the ﬁlling process. This appendix sets forth my
understanding and opinions regarding the models of water bu*aloes used from 1953 to
1987 at Camp Lejeune, which forms the basis of certain of my calculations. Based on my
review of historical documentation, as discussed below, I disagree in part with Drs. Hennet
and Brigham regarding how water bu*aloes were ﬁlled at Camp Lejeune over time.

Response regarding Water Bu3alo “Filling”

Dr. Hennet opines that:

       “In summary. A substantial portion of COCs that may have been present in the
       treated water used to ﬁll a water bu<alo would have unavoidably been lost to
       evaporation during ﬁlling, use, and variations of temperature. These COC reductions
       between the raw water and the water in the water bu<aloes would have been in the
       order of 52% to 73% based on my estimation.” (pg. 5-43)

Of the three potential causes of VOC reductions, Dr. Hennet claims the majority of the loss
is attributed to the presumed historical “ﬁlling” of the tank:

       “The COC reductions in the water ﬁlled and stored in the water bu<aloes can be
       estimated. The largest COC mass removal from the water is during ﬁll-up of the tank
       when conditions are ripe for volatilization, through increased contact between water
       and air due to the forcing of water through a strainer that generates water jets and
       droplets that greatly increase the surface area of the water/air interface for COC
       exchange to the tank air. The air containing COCs is expelled from the tank during
       ﬁlling. The ﬁlling of the tank through a strainer would involve spraying, splashing, and
       turbulent ﬂow.” (pg. 5-40)

       “These loss rates likely apply during the ﬁrst half of the tank ﬁlling process because
       the ﬁlling strainer extends about halfway down into the tank. For the second half of
       the ﬁlling process, it is assumed that the loss rate declines linearly until the tank is
       completely full. Considering this decrease in loss rate as the tank ﬁlls results in an
       overall loss rate estimate of about 44% for TCE.” (pg. 5-40)

In making these claims, Dr. Hennet assumed:


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   1. All of the water bu*aloes in use from August 1st 1953 to December 31st 1987 were
      equipped with a “ﬁlling port on the water tank contain[ing] a strainer screen.”
   2. That all the water bu*aloes were ﬁlled through the ﬁlling port.

A review of the history of the water bu*alo and speciﬁcally its use at Camp Lejeune
demonstrates that these assumptions are incorrect.

Chronological Listing of Water Bu3aloes – 1943 to 1991

The WWII era water bu*alo was known as a “250-gallon Tank Trailer” or a “1-Ton, 2-Wheel
Water Trailer”. (TM9-833 Army Technical Manual, BRIGHAM_USA_0000043022). The unit is
shown in Figure 1 below.




             Figure 1 – WWII Water Bu*alo. TM9-833 Army Technical Manual,
                              BRIGHAM_USA_0000043035.

This model water bu*alo was equipped with a hand pump, intake hose and bell strainer to
allow ﬁlling the unit in the ﬁeld from sources such as ponds or streams. In those cases, the
bell strainer would be placed in the water source, the pump handle would be pumped and
the water would ﬂow from the source, through the bell strainer, rubber hose, pump and

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then to part “H”, the tank inlet pipe, which dumps the water into the tank at the manhole
cover.

In the manual for the WWII era water bu*alo (TM9-833 Army Technical Manual,
BRIGHAM_USA_0000043022), users are instructed to:




BRIGHAM_USA_0000043040.

On this model, which is not equipped with a ﬁll hatch like what is described in Dr. Hennet’s
report, the ﬁlling of the tank is accomplished through the manhole cover, which as the
name describes is a man-sized hatch in the top of the tank that allows ﬁlling, inspection
and cleaning of the tank. There is no strainer involved in the process.

Chronologically the next version of the water bu*alo was designated the M106. The M106
was very similar to its predecessor with two notable exceptions. The ﬁrst is its capacity was
increased to 400 gallons. The second is the addition of a ﬁller hatch assembly located at
the top of the tank near the front as shown in Figure 2. (TM9-875B Army Technical Manual
(Oct. 1951)).




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    Figure 2 – M106 Water Bu*alo. TM9-875B Army Technical Manual (Oct. 1951), p. 9.

The addition of the ﬁller hatch assembly changed the water path from the pump. Instead of
exiting into the tank at the manhole cover, the water from the pump now travels to the ﬁller
hatch. The M106 has a strainer in the neck of the ﬁller hatch (See Figure 3) which is
equipped with a ﬁne mesh screen that removes particulate matter from the incoming
water.




       Figure 3 – M106 Strainer (TM9-875B Army Technical Manual (Oct. 1951), p. 7)
____________________________________________________________________________________
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The addition of the strainer is especially important when the water supply is a pond, stream
or other similar source, but it provides no beneﬁt when being ﬁlled with ﬁnished water from
a water distribution system such as the Hadnot Point WTP. An exploded view of the ﬁller
hatch and strainer is shown in Figure 4 below.




FIGURE 4 – M107A1 Strainer Shown, M106 is the same (TM 9-2330-213-14 Army Technical
                   Manual (1964), BRIGHAM_USA_0000041587).




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The service maintenance manual for the M106 includes this description of the loading of
the water tank:




        Figure 5 – M106 Filling. TM9-875B Army Technical Manual (Oct. 1951), p.43.

The M106 was the ﬁrst water bu*alo to utilize the ﬁller hatch and strainer screen. The ﬁll
point moved from the manhole cover to the ﬁller hatch with the introduction of this
modelwhen using an “Overhead Free-Flowing source”.

The M107 was the next iteration of the water bu*alo. The major change was the removal of
the hand pump and associated components (Figure 6) (TM 9-2330-213-14 Army Technical
Manual (Jan. 1964), BRIGHAM_USA_0000041587). All other aspects of the M106 and M107
remain the same.




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                      Figure 6 – M107A1. BRIGHAM_USA_0000041599.

Filling the M107A1 is still directed to be done through the ﬁller hatch as described in Figure
7 below.




                 Figure 7 – M107A1 ﬁlling. BRIGHAM_USA_0000041622)
____________________________________________________________________________________
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Nineteen sixty-four saw the introduction of the M149. The ﬁrst version of the M149 can be
identiﬁed by its unique tank shape as shown in Figures 8 & 9 below (TM 9-2330-267-14
Army Technical Manual (Oct 1964), BRIGHAM_USA_0000041997). Other than the tank
shape the M149 is essentially the same as the M107 including the 400-gallon capacity and
use of a ﬁller hatch and a strainer.




                      Figure 8 – M149. BRIGHAM_USA_0000042006.




         Figure 9 – M149 Tank Shape (https://www.ebay.com/itm/223995969791)

The next generation of the M149, designated the M149A1 is identical to the M149 with the
notable exception that the ﬁller hatch was discontinued. The illustration below (Figure 10)
is from the TM9-2330-267-14 Army Technical Manual (June 1971). It shows both the M149
(top) and its replacement, the M149A1 (bottom).




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     Figure 10 – M149 and M149A1 (TM9-2330-267-14 Army Technical Manual, p. 1-2)




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The earliest M149A1 identiﬁed was manufactured in January 1968. The photos in Figure 11
show the lack of a ﬁller hatch.




 Figure 11 – M149A1: No ﬁller hatch (https://www.bigiron.com/Lots/1968Army400-Gal2-
                                 WheelM149TankTrailer)

This design change represents a signiﬁcant shift in the water bu*alo ﬁlling methodology as
there is only one way to ﬁll the tank – through the manhole cover.

This change in methodology was further demonstrated when the Army issued Change No. 3
for the M149 & M149A1 in December of 1968 (BRIGHAM_USA_0000041969), which
consisted of 28 pages with the instructions to “Remove old pages and insert new pages as
indicated below.” On page 1, Chapter 1 Introduction, Section II. Description and Data there
is a note. The note states (Figure 12):




            Figure 12 – 1968, Strainer note. TM 9-2330-267-14 C3 (Dec. 1968),
                              BRIGHAM_USA_0000041973.




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This note is not found in the original M149 Manual issued in 1964 as shown below in Figure
13:




    Figure 13 – 1964 version, no note. TM 9-2330-267-14 Army Technical Manual (1964),
                               BRIGHAM_USA_0000042005.

The signiﬁcance of this note is that as early as December 1968 the army is acknowledging
that the M149A1 was not equipped with a strainer, and the use of the strainer became
optional for the M149 in cases where the strainer was damaged or found defective.

In 1970 the M149A1 underwent a tank design change. The M149 went from the non-oval,
non-round tank shape shown in the top of Figure 14 below to a round tank shape as shown
in the bottom of Figure 14. Again, note no ﬁller hatch on the M149A1.




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  Figure 14 – M149 (top), M149A1 & M149A2 (TM9-2330-267-14P Army Technical Manual
                           (1981), BRIGHAM_USA_0000043121)

Again, with the discontinuation of the ﬁller hatch there is only one method available to ﬁll
the M149A1 water bu*alo – through the manhole cover.

Generational Changes to M107 Technical Manual and Tank Filling Process




                     Figure 15 – M107 Technical Manuals 1964 to 1990

The Army periodically published updated manuals for the various pieces of equipment it
oversees (Figure 15). The M107 has had 3 such updates since 1964. Of interest is that the
process of ﬁlling the water bu*alo changed dramatically from 1964 to 1990. The ﬁlling
process outlined in the 1964 edition is shown below (Figure 16).




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 Figure 16 – 1964 M107A1 Fill Process. TM 9-2330-213-14 Army Technical Manual (1964),
                              BRIGHAM_USA_0000041622.

In the August 1972 edition, which supersedes the October 1964 edition shown above, the
ﬁll process switches from being done through the ﬁller hatch to the manhole cover as
described in the text below (Figure 17). The change in instructions also clariﬁed a phrase
used in earlier manuals that will be discussed below.




   Figure 17 – August 1972 M107 Fill Process. TM 9-2330-213-14 Army Technical Manual
                                          (1972)



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As called out in the “Loading the Water Tank” instructions, “Use manhole opening for reﬁll
operation” (Figure 17).

The phrase of interest in the ﬁlling instructions which was used in several earlier water
bu*alo technical manuals is “free-ﬂowing source.” A free-ﬂowing source implies gravity
fed, which suggests the ﬁll hatch was never intended to be ﬁlled with a high-pressure-high-
ﬂow hose that was tapped into the base’s water distribution system. In the 1972 edition,
the text speciﬁcally calls out that when ﬁlling through the manhole cover a pressure pump
can be used, which is equivalent to water-ﬂow/pressure like that supplied by the water
distribution system.




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In 1985 the Army reformatted the tank ﬁlling instructions. The 1985 M107 ﬁll instructions
are shown in Figure 18 below.




 Figure 18 – 1985 M107 Fill Process. TM 9-2330-213-14&P Army Technical Manual (1985).




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The ﬁll process stays the same in the 1990 edition as shown in Figure 19 below.




 Figure 19 – October 1990 M107 Fill Process. TM 9-2330-213-14P Army Technical Manual
                         (1990), BRIGHAM_USA_0000044016.

An important point to be made concerning the October 1990 M107 Technical Manual
shown in Figure 19 is that the manual was found in Dr. Brigham’s ﬁle materials. See Figure
20. The signiﬁcance of this is that Dr. Brigham’s own ﬁle materials demonstrate that the
ﬁlling process had changed from the 1964 manual he relies on for the ﬁll procedure through
the strainer. Once he recognized that the process had changed, he should have located
sources for earlier editions of the M107 Technical Manual to determine how far back the
change took place.



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     Figure 20 – Brigham 1990 M107 Technical Manual, BRIGHAM_USA_0000044017.

Dr. Brigham includes the photograph shown in Figure 21 (image 34) to establish that M107
water bu*aloes were in use at least up to January 1977, and he even calls out the oval tank
to identify the unit as a M107. What he and Dr. Hennet do not disclose in their reports, nor
include in Hennet’s COC loss analysis, is that the ﬁll procedure for this and all other M107’s
at Camp Lejeune was through the manhole cover since January 1972.




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                          Figure 21 – Expert Brigham Image 34

According to an inventory of equipment, in 1968 Camp Lejeune had 84 M107s. (Figure 22)




                Figure 22 – 1968 Camp Lejeune Water Bu*alo Inventory
(Base Master Plan-Approx-1972-00368 (bates CLJA_WATERMODELING_01-0000948169 to
                       CLJA_WATERMODELING_01-0000948933)

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By no later than and likely well before 1999, the water bu*alo inventory switched to
exclusively M149s as depicted in Figure 23 below. According to this document there were
71 M149s.




                 Figure 23 – 1999 Camp Lejeune Water Bu*alo Inventory
                    (CLJ157174.pdf, Bates CLJ157174 to CLJ157472)
This is supported by the a*idavit provided by Mr. Mark Cagiano, who was stationed at
Camp Lejeune from 1976 to 1980. One of the positions Mr. Cagiano held during this time
was Battery Motor Transport O*icer. In this position he had the opportunity to observe
water bu*aloes on a regular basis. According to his a*idavit, during his time at Camp
Lejeune he observed only one type of water bu*alo – the M149A1. This supports that the
base was transitioning from the M107 to the M149A1 during the 1970’s.Mr. Cagiano stated
that he recalled water bu*aloes being ﬁlled through the manhole from a standpipe, and on
occasion from a ﬁre hydrant.
Regardless of the mix between M107s and M149s, from 1972 to 1987 all water bu*aloes
would have been ﬁlled through the manhole cover based on operating guidance discussed
above.


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For those M107s earlier than 1972 it is my position that these units more likely than not
would have also been ﬁlled through the manhole cover. I base this on the following:
    1. An a*idavit provided by Mr. Ernest Hunt. In his a*idavit, Mr. Hunt states that he was
       in motor transport as a truck driver from 1965 to 1966. On a regular basis he
       observed the ﬁlling of M107 water bu*aloes, and all of those he observed were ﬁlled
       through the manhole cover.
    2. The ﬁller hatch as outlined in several of the manuals is designated for free-ﬂowing
       water supplies and in early versions fed by a hand-pump.
    3. From at least 1968 to 1972 (and thereafter) there were M149A1 (no ﬁller hatch)
       water bu*aloes in use at Camp Lejeune that could only be ﬁlled through the
       manhole cover, making it di*icult to believe Marines would be ﬁlling the M107
       though the ﬂow-constrained ﬁller neck while using the manhole cover to ﬁll the
       M149A1.

Water Bu3alo Filling Examples

Figures 24 to 27 below show M149A1 water bu*aloes being ﬁlled through the manhole
cover. These photos are post-1987, but the process is the same regardless of when it took
place.




                              Figure 24 – Filling M149A1 Water Bu*alo1


1
 https://www.alamy.com/a-service-members-at-fort-mccoy-wis-for-the-86th-training-divisions-combat-
support-training-exercise-cstx-86-18-02-ﬁlls-a-water-tank-at-improved-tactical-training-base-liberty-on-
____________________________________________________________________________________
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                              Figure 25 - Filling M149A1 Water Bu*alo2




                                     Figure 26 – Standpipe Hose3


north-post-on-aug-8-2018-the-86th-is-holding-the-exercise-as-part-of-the-us-army-reserve-commanding-
generals-combat-support-training-program-thousands-of-service-members-with-the-army-as-well-as-other-
military-services-and-foreign-militaries-are-participating-in-the-multinational-exercise-including-canadian-
armed-forces-members-cstx-86-18-02-is-the-second-of-two-cstxs-by-the-86th-taking-place-at-fort-m-
image218541597.html?imageid=7D23ADD4-DE29-445D-A5B2-
5F209B22D886&p=725760&pn=1&searchId=0552ab94b97dc8d1Q6efee3a2cf3201&searchtype=0
2
  https://www.usmilitariaforum.com/forums/uploads/monthly_2024_09/Screenshot2024-09-23at21-01-
23WaterWorks.png.a78205954b395f11a15d1e0aadbc071e.png
3
  https://itoldya420.getarchive.net/amp/media/us-marine-corps-lance-cpl-codi-heggemeier-2nd-medical-
d523c0
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                       Figure 27 - Filling M149A1 Water Bu*alo from hydrant4

As seen in Figures 24, 25 & 26, the typical method of ﬁlling a water bu*alo involves the use
of what is known as a standpipe. A standpipe is a structure that allows the ﬁll hose to hang
down over the water bu*alo. In Figures 24 and 25 the hose hangs just above the manhole
cover. The ﬁll hose in Figure 26 is longer and can be lowered into the water bu*alo tank
through the manhole cover. While not shown in the photo, Figure 27 shows ﬁlling a water
bu*alo with a ﬁre hydrant.

Water Bu3alo Tank Fill Time

Based on standpipe ﬁlling and using an online video that captures the entire ﬁll process of
an M149A2 water tank, it was possible to quantify the ﬁll time for a 400-gallon bu*alo tank
regardless of the model of water bu*alo. . Figures 28, 29, 30, 31 & 32 are frames from the
video at the zero, one-quarter, one-half, three-quarters and full points. The ﬁlling of the
400-gallon tank took just over 2 minutes as demonstrated by the video, which equates to
an average ﬂowrate of 200 gpm.
(https://www.youtube.com/watch?v=2juC4Ry9hS4&ab_channel=axeandsmash48g).




4
    https://www.nationalguard.mil/Resources/Image-Gallery/News-Images/igphoto/2000709524/
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                              Figure 28 – 0 Full (T=0.0)




                              Figure 29 – ¼ Full (T=32.5)




                              Figure 30 – ½ Full (T=65.0)




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                                 Figure 31 – ¾ Full (T=97.5)




                                  Figure 32 – Full (T=130.0)




As stated above, the ﬁll time for a water source that provides a ﬂow rate of 200 gpm was 2
minutes. The ﬁll time is the ratio of volume (400 gallons) divided by ﬂow (gallons per minute
of the source). The chart below shows ﬁll time would be for a 400 gallon at several source
rates (Figure 33).




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                                Figure 33 – Tank ﬁll times

Based upon distribution system testing performed by ATSDR in 2004, we have data that
provide pressure and ﬂow rates for the HPWTP. The graph below is from “Field Testing of
Water-Distribution Systems at U.S. Marine Corps Base, Camp Lejeune, North Carolina, in
Support of an Epidemiologic Study”. It provides system pressures at two di*erent locations
in the HPWTP system (Figure 34). These pressures combined with a 2 inch standpipe
system are consistent with a 200 gpm ﬂow rate.




               Figure 34 – HPWTP Area Pressures (CLJ134936-CLJ134949)

The table below is from the same document. It provides ﬂow rates at various locations in
the HPWTP (Figure 37). These data conﬁrm that HP WTP had more than enough capacity to
ﬁll the water bu*aloes in the 2-to-3-minute range.




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               Figure 37 – HPWTP Area Flow Rates (CLJ134936-CLJ134949)

Summary

Based upon my review of Dr. Hennet’s and Dr. Brigham’s expert reports, my review of
documents produced in this litigation, and my research into the history and evolution of the
water bu*alo, I have reached the following opinions and conclusions:

   1. From August 1972 forward the water bu*aloes at Camp Lejeune, which would
      include the M107 (all types) and M149A1 & A2, were to be ﬁlled through the manhole
      cover.
   2. Prior to August 1972, for ﬁlling convenience it is more likely than not that the water
      bu*aloes at Camp Lejeune were ﬁlled through the manhole cover.
   3. The M149A1 & A2 were not equipped with a ﬁller neck, and the manhole cover was
      the only way to ﬁll the tank.
   4. The typical ﬁll time for all 400-gallon tank water bu*alos was more likely than not
      between 2 and 3 minutes when ﬁlled through the manhole cover using water
      supplied from a 2-inch standpipe directly tapped into a typical water distribution
      system.

Prepared by:

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David Saba)ni, PhD, PE, BCEE
January 14, 2024


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